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                                                                              U.S. DISTRICT COURT
                                                                                  N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        EASTERN DIVISION


ALLSTATE VEHICLE &                      }
PROPERTY INSURANCE                      }
COMPANY, as subrogee of Allen           }
and Traci Henderson,                    }
                                        }   Case No.: 1:16-cv-02079-ACA
      Plaintiff,                        }
                                        }
v.                                      }
                                        }
ELECTROLUX HOME                         }
PRODUCTS, INC.,                         }
                                        }
      Defendant.                        }


                   MEMORANDUM OPINION AND ORDER

      This is a products liability case arising out of a dryer fire at the home of

Alan and Traci Henderson.      Plaintiff Allstate Vehicle & Property Insurance

Company (“Allstate”), as subrogee of the Hendersons, claims that Defendant

Electrolux Home Products, Inc. (“Electrolux”) negligently designed, manufactured,

and sold the subject dryer. Allstate asserts claims under the Alabama Extended

Manufacturers Liability Doctrine (“AEMLD”) and for negligence.

      Pending before the court is Electrolux’s motion for partial summary

judgment. (Doc. 36). Pursuant to Rule 56 of the Federal Rules of Civil Procedure,

Electrolux seeks judgment as a matter of law on Allstate’s AEMLD and negligence
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claims, to the extent the claims allege a failure to warn. For the reasons explained

below, the court GRANTS the motion.

I.    STANDARD OF REVIEW

      “The court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a). “The moving party bears the initial burden

of demonstrating the absence of a genuine dispute of material fact.” FindWhat

Inv’r Grp. v. FindWhat.com, 658 F.3d 1282, 1307 (11th Cir. 2011) (citing Celotex

Corp. v. Catrett, 477 U.S. 317, 323 (1986)). A “material fact” is one that “might

affect the outcome of the suit under the governing law.” Anderson v. Liberty

Lobby, Inc., 477 U.S. 242, 248 (1986).

      To demonstrate that there is a genuine dispute as to a material fact that

precludes summary judgment, a party opposing a motion for summary judgment

must cite “to particular parts of materials in the record, including depositions,

documents,    electronically    stored   information,    affidavits   or   declarations,

stipulations (including those made for purposes of the motion only), admissions,

interrogatory answers, or other materials.”        Fed. R. Civ. P. 56(c)(1)(A); see

Anderson, 477 U.S. at 252 (“[A] party opposing a properly supported motion for

summary judgment may not rest upon mere allegation or denials of his pleading,

but must set forth specific facts showing that there is a genuine issue for trial.”).


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       The court views the evidence in the light most favorable to the non-moving

party. Baas v. Fewless, 886 F.3d 1088, 1091 (11th Cir. 2018). The court “may not

weigh conflicting evidence or make credibility determinations of its own.”

FindWhat Inv’r Grp., 658 F.3d at 1307. “If the record presents disputed issues of

fact, the court may not decide them; rather, it must deny the motion and proceed to

trial.” Id.

II.    FACTUAL BACKGROUND
       In July 2007, Plaintiff Allstate’s subrogors, Allen and Traci Henderson

purchased a new electric clothes dryer manufactured by Defendant Electrolux.

(Doc. 36-3 at 17; Doc. 36-4 at 16). Between 2007 and 2014, Mr. Henderson

personally installed the dryer at three different residences, the last of which was a

home located on Mudd Street in Lincoln, Alabama (“Mudd Street Residence”).

(Doc. 36-3 at 17-18, 38).

       Installation and operation manuals accompanying the dryer contained fire

warnings as did the dryer itself. For example, the dryer’s Installation Instructions

state: “If the dryer is not exhausted outdoors, some fine lint will be expelled into

the laundry area. An accumulation of lint in any area of the home can create a

health and fire hazard. The dryer MUST be exhausted to the outside of the

dwelling!” (Doc. 36-6 at 7) (emphasis in original). The Installation Instructions

also state:


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      Do not screen the exhaust ends of the vent system, nor use any
      screws or rivets to assemble the exhaust system. Lint can become
      caught in the screen, on the screws or rivets, clogging the duct work
      and creating a fire hazard as well as increased drying times. Use an
      approved vent hood to terminate the duct outdoors, and seal all joints
      with duct tape.
(Doc. 36-6 at 7) (emphasis in original). The Installation Instructions go on to

provide: “The exhaust system should be inspected and cleaned a minimum of every

18 months with normal usage. The more the dryer is used, the more often you

should check the exhaust system and vent hood for proper operation.” (Doc. 36-6

at 7) (emphasis in original).

      The dryer’s Use & Care Guide states:

      Prevent Fire … Clean the lint screen before or after each load. The
      interior of the dryer, lint screen housing and exhaust duct should be
      cleaned approximately every 18 months by qualified service
      personnel. An excessive amount of lint build-up in these areas could
      result in inefficient drying and possible fire. . . . Failure to comply
      with these warnings could result in fire, explosion, serious bodily
      injury and/or damage to the rubber or plastic parts of the dryer.

(Doc. 36-6 at 21).

      A warning label affixed to the dryer states: “CAUTION - Risk of Fire A

clothes dryer produces combustible lint. The dryer must be connected to an

exhaust to the outdoors.        Regularly inspect the outdoor exhaust opening and

remove any accumulation of lint around the outdoor exhaust opening and in the

surrounding area.” (Doc. 36-6 at 17) (emphasis in original).



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      The Hendersons received but did not read the Installation Instructions or the

Use & Care Guide, and the Hendersons do not recall reading the on-product

warnings located on the dryer. (Doc. 36-3 at 17, 21, 37; Doc. 36-4 at 16, 21-22).

Mr. Henderson testified that he did not need to consult the Installation Instructions

to know how to install the dryer or to read the operating manual to understand how

to operate the dryer. (Doc. 36-3 at 39).

      Sometime in 2013 or early 2014, Mr. Henderson essentially gutted and

rebuilt the Mudd Street Residence himself, including the electrical and plumbing

systems.   (See Doc. 36-3 at 6-7, 10; Doc. 36-4 at 8).         At the Mudd Street

Residence, Mr. Henderson vented the dryer with a flexible metal transition duct,

which he routed through the floor behind the dryer into a crawl space under the

residence. (Doc. 36-3 at 19; Doc. 36-5 at 7-8). The dryer did not exhaust outside

of the residence, and Mr. Henderson did not install a vent hood at the end of the

exhaust system. (Doc. 36-3 at 20; Doc. 36-5 at 9). When he installed the dryer at

the Mudd Street Residence, Mr. Henderson removed the existing plug from the end

of the dryer’s power cord and spliced it to connect directly to the residence’s

breaker box using a wire nut. (Doc. 36-4 at 14-15; Doc. 36-5 at 35). The failure to

exhaust the dryer outside of the residence, the lack of a vent hood, and the splicing

of the building wiring to the power cord do not comply with the dryer’s Installation

Instructions. (See Doc. 36-6 at 7, 13).


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       The Hendersons did not clean the interior cabinet of the dryer or the dryer’s

exhaust system, nor did they hire a professional to do so. (Doc. 36-3 at 20; Doc.

36-4 at 18). The failure to clean the interior of the dryer or its exhaust system does

not comply with the dryer’s Installation Instructions and Use & Care Guide. (See

Doc. 36-6 at 8, 21).

       On December 30, 2014 the dryer caught fire and damaged the Hendersons’

Mudd Street Residence. (Doc. 36-3 at 5). At the time of the fire, the Hendersons’

property was insured by a homeowners policy issued by Allstate. (Doc. 36-3 at

28). Pursuant to the policy, Allstate paid the Hendersons $170,927.61 related to

the loss. (Doc. 36-2 at 6).

       Allstate, as subrogee of the Hendersons, filed this lawsuit against Electrolux

alleging that the fire that damaged the Hendersons’ Mudd Street Residence was

caused by defects in the dryer that Electrolux manufactured. Allstate asserts claims

under the AEMLD (Count I) and for negligence (Count II). (Doc. 1). 1

III.   DISCUSSION

       Electrolux claims that it is entitled to partial summary judgment on

Allstate’s failure to warn claims because, as a matter of law, Allstate cannot prove

the failure to warn proximately caused the fire. Electrolux contends that Allstate


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  As a subrogee, Allstate “steps into the shoes” of its subrogors, the Hendersons, and Allstate’s
claims are derivative of any claims the Hendersons could have asserted. See Ex parte Webber,
157 So. 3d 887, 896-97 (Ala. 2014).
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cannot show proximate cause because the Hendersons did not read the product

literature or the on-product labels accompanying the dryer. Electrolux’s argument

is persuasive.

      Under Alabama law, a plaintiff may allege failure to warn as a matter of

negligence, under the AEMLD, or both. Turner v. Westhampton Court, L.L.C.,

903 So. 2d 82, 90 (Ala. 2004). “As with an AEMLD claim, ‘[t]he element of

proximate cause is essential to the plaintiff’s prima facie case of negligent failure

to adequately warn.’” Bodie v. Purdue Pharma Co., 236 F. App’x. 511, 518 (11th

Cir. 2007) (quoting Gurley v. Am. Honda Motor Co., Inc., 505 So. 2d 358, 361

(Ala. 1987) (alteration in Bodie). “Under both the AEMLD and the negligence

theories, [the plaintiff] has the burden of proving proximate causation. Clarke

Industries, Inc. v. Home Indem. Co., 591 So. 2d 458, 461 (Ala. 1991).             To

demonstrate proximate cause, a plaintiff must show “that the allegedly inadequate

warning would have been read and heeded and that it would have prevented the

accident.” Sears, Roebuck & Co. v. Harris, 630 So. 2d 1018, 1030 (Ala. 1993).

“[A] plaintiff who does not read an allegedly inadequate warning cannot maintain

a negligent-failure-to-adequately-warn action unless the nature of the alleged

inadequacy is such that it prevents him from reading it.” E.R. Squibb & Sons, Inc.

v. Cox, 477 So. 2d 963, 971 (Ala. 1985).




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      Allstate concedes that the record is undisputed that the Hendersons “did not

read the product literature and could not remember if they read the on-product

labels.” (Doc. 38 at 11) (citing Doc. 36-3 at 17, 21, 36-37; Doc. 36-4 at 21-22).

Nevertheless, Allstate maintains that it “has a valid failure to warn claim and

sufficient evidence of proximate cause to present the claim to the jury based on

[Electrolux’s] failure to place a conspicuous warning on the product that

adequately warned the user of the danger and instructed the user on the steps

necessary to avoid the danger.” (Doc. 38 at 12). Citing Carruth v. Pittway

Corporation, 643 So. 2d 1340 (Ala. 1994) and Rodgers v. Shaver Manufacturing

Company, Incorporated, 993 F. Supp. 1428 (1998), Allstate contends that

questions of fact preclude summary judgment on proximate cause because: (1)

reliance on warnings and instructions in product literature—as opposed to on-

product warnings—is unreasonable and deprived the Hendersons of critical safety

information necessary to avoid the fire and (2) although the dryer had on-product

labels, the location of the labels are not designed to grab a consumer’s attention,

and none warned the Hendersons of the specific fire hazard at issue or the steps

necessary to prevent those types of fires. (Doc. 10 at 10-12).

      Both Carruth and Rodgers are distinguishable from this case. In Carruth,

plaintiffs sued a smoke detector manufacturer for failure to warn about “dead air

space” after a fatal fire.   643 So. 2d at 1344-45.       The defendant argued it


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adequately warned about dead air space in a pamphlet that accompanied the

product. Id. at 1341. The plaintiff testified the he did not read the pamphlet “in

depth” before installing the smoke detector, and he was “unaware of information

about locating the detector in dead air space, even after casually scanning the

pamphlet and observing information on the box the detector came in regarding

where to locate the detector.” Id. at 1345.

      The Carruth court concluded that “one could reasonably infer that

[defendant] conveyed important cautionary information about dead-air-space

concerns in a way not calculated to attract the user’s attention. . . . Most

particularly from the pamphlet’s format and print size, and the seemingly sufficient

diagram on the box, a fair-minded person could reasonably infer that a user would

be induced to only scan the pamphlet and thereby not get from the pamphlet the

information about dead-air-space.” Id. at 1346.       Accordingly, it was “a jury

question as to whether the . . . pamphlet provided a legally adequate warning about

dead-air-space concerns.” Id.

      Carruth is not persuasive under the circumstances of this case. Unlike the

plaintiff in Carruth, the Hendersons did not “casually scan” any of the warnings

that accompanied the dryer; they did not read any of the dryer’s warnings. Also

unlike the plaintiff in Carruth, Allstate does not challenge the adequacy of the

wording, format, or font of the dryer warnings. Notably, Allstate does not even


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argue as an affirmative claim that the “specific content of Electrolux’s warnings

themselves are inadequate as written.” (Doc. 38 at 13). Therefore, the facts of

Carruth are not analogous to the facts here.

      The same is true for Rodgers. In Rodgers, the plaintiff alleged that a post-

hole digger manufacturer failed to adequately warn of the dangers of the digger

because the warning decal was placed on a part of the digger that moved while the

machine was in use. Rodgers, 993 F. Supp. at 1438. A federal district court,

applying substantive Alabama law, concluded that the plaintiff created a question

of fact as to whether the manufacturer breached its duty to provide an adequate

warning “by failing to place a warning, in a clearly visible location, identifying the

hazard of the entanglement in the rotating components and the precautions to be

taken to avoid the hazard.” Id.

      Unlike the plaintiff in Rodgers, Allstate has not argued or presented

evidence that the on-product warning on the dryer was not clearly visible. In fact,

Ms. Henderson testified that she saw the on-product warnings on the dryer but did

not read them. (Doc. 36-4 at 21). Mr. Henderson testified that he does not “recall

opening the [dryer] door,” but he also testified that he did not need to read the

instruction or operating manual to install or operate the dryer. (Doc. 36-3 at 21;

Doc. 36-3 at 39). In addition, Ms. Henderson did not read “any of the material that

came with the dryer.” (Doc. 36-4 at 16). Therefore, Allstate has not demonstrated


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that the Hendersons would have read any warning on the dryer itself—regardless

of the content.

      Allstate offers testimony that Mr. Henderson “assumes” he would have

followed a large warning on the dryer itself that advised him not to use flexible foil

venting and that Mr. Henderson would not have purchased the dryer if “they had

told [him] when [he] bought [the dryer]” that he needed to have the interior of the

dryer behind dryer drum cleaned every 18 months. (Doc. 36-3 at 39). However, it

is undisputed that the Hendersons did not read the warnings on the dryer itself or in

the accompanying product literature. (Doc. 36-3 at 17, 21, 36-37; Doc. 36-4 at 16,

21-22).   Therefore, Allstate has not submitted “substantial evidence that the

allegedly inadequate warning would have been read and heeded and that it would

have prevented the accident.” Harris, 630 So. 2d at 1030.

      Accordingly, Electrolux is entitled to judgment as a matter of law on

Allstate’s claims, to the extent that they allege a failure to warn. See e.g., Chase v.

Kawasaki Motors Corp., U.S.A., 140 F. Supp. 2d 1280, 1287-88 (M.D. Ala. 2001)

(defendant entitled to summary judgment “[b]ecause Alabama law bars a plaintiff

who does not read an allegedly inadequate warning from maintaining a failure to

warn action”); Green v. Five Star Manufacturing, Inc., 2016 WL 1243757, at *11

(N.D. Ala. Mar. 30, 2016) (“If a plaintiff did not read the alleged inadequate

warning, there is no evidence from which a reasonable juror could infer the


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plaintiff would have read and heeded an adequate warning and, thus, no evidence

from which a reasonable juror could infer an adequate warning would have

prevented the plaintiff’s injury.”).

IV.   CONCLUSION

      For the reasons explained above, the court GRANTS Electrolux’s motion

for partial summary judgment. (Doc. 36). The court ENTERS judgment as a

matter of law in favor of Electrolux on Allstate’s AEMLD and negligence claims,

to the extent those claims allege a failure to warn.

      By separate order, the court will set Allstate’s remaining claims for trial and

provide the parties with pretrial instructions.


      DONE and ORDERED this November 27, 2018.



                                       _________________________________
                                       ANNEMARIE CARNEY AXON
                                       UNITED STATES DISTRICT JUDGE




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